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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 12 B 27765
         Mark M Roder

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 07/12/2012.

         2) The plan was confirmed on 02/06/2013.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 10/28/2015.

         5) The case was Dismissed on 01/20/2016.

         6) Number of months from filing to last payment: 40.

         7) Number of months case was pending: 60.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor             $43,063.37
           Less amount refunded to debtor                           $30.00

 NET RECEIPTS:                                                                                    $43,033.37


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                  $2,149.00
     Court Costs                                                                $0.00
     Trustee Expenses & Compensation                                        $1,832.66
     Other                                                                      $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                  $3,981.66

 Attorney fees paid and disclosed by debtor:                  $1,351.00


 Scheduled Creditors:
 Creditor                                        Claim         Claim            Claim       Principal      Int.
 Name                                  Class   Scheduled      Asserted         Allowed        Paid         Paid
 Armor Systems Corporation         Unsecured         270.00           NA              NA            0.00       0.00
 Cavalry Portfolio Services        Unsecured         512.00           NA              NA            0.00       0.00
 Cavalry Portfolio Services        Unsecured         502.00        513.60          513.60        392.92        0.00
 Cook County Treasurer             Unsecured           0.00           NA              NA            0.00       0.00
 Equity One Investment Funds       Secured       35,000.00           0.00       35,000.00     35,000.00        0.00
 Ford Motor Cedit                  Unsecured           0.00      8,015.33        3,812.26      2,916.48        0.00
 Home Depot                        Unsecured         746.00           NA              NA            0.00       0.00
 I C Systems Inc                   Unsecured         112.00           NA              NA            0.00       0.00
 Illinois Bell Telephone Company   Unsecured         122.00        234.40          234.40        179.32        0.00
 Jefferson Capital Systems LLC     Unsecured            NA         158.01          158.01        120.88        0.00
 Nationwide Credit & Collection    Unsecured         256.00           NA              NA            0.00       0.00
 Nationwide Credit & Collection    Unsecured         225.00           NA              NA            0.00       0.00
 Ocwen Loan Servicing LLC          Secured      107,781.00            NA              NA            0.00       0.00
 Portfolio Recovery Associates     Unsecured         577.00        577.90          577.90        442.11        0.00
 Stuart Allen & Associates         Unsecured         250.00           NA              NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                     $0.00              $0.00              $0.00
       Debt Secured by Vehicle                                $0.00              $0.00              $0.00
       All Other Secured                                 $35,000.00         $35,000.00              $0.00
 TOTAL SECURED:                                          $35,000.00         $35,000.00              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                              $5,296.17          $4,051.71              $0.00


 Disbursements:

         Expenses of Administration                             $3,981.66
         Disbursements to Creditors                            $39,051.71

 TOTAL DISBURSEMENTS :                                                                     $43,033.37


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/30/2017                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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